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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,     )          CR. NO. 06-00080 (02) SOM
                                )
            Plaintiff,          )          ORDER DENYING DEFENDANT’S
                                )          MOTION FOR COMPASSIONATE
                                )          RELEASE
                                )
       vs.                      )
                                )
  RODNEY JOSEPH, JR.,           )
                                )
            Defendant.          )
                                )
  _____________________________ )

       ORDER DENYING DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

  I.         INTRODUCTION.

             On March 20, 2009, after a lengthy jury trial, Rodney

  Joseph, Jr., was convicted of having violated the Racketeer

  Influenced and Corrupt Organizations Act (“RICO”) and the Violent

  Crimes in Aid of Racketeering Enterprise Act (“VICAR”), as

  charged in seven counts in the Second Superseding Indictment of

  October 12, 2006.     See Verdict Form as to Defendant (02) Rodney

  Joseph, Jr., (March 20, 2009), ECF No. 1090.         Joseph’s crimes

  included a substantive RICO violation of 18 U.S.C. § 1962(c),

  with racketeering acts in the form of an illegal gambling

  business, an extortion conspiracy, and robbery (Count 1); a RICO

  conspiracy in violation of 18 U.S.C. § 1962(c) (Count 2); a

  conspiracy to operate an illegal gambling business in violation

  of 18 U.S.C. § 1955 and 18 U.S.C. § 2 (Count 3); a VICAR

  violation in the form of an assault with a dangerous weapon in
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  violation of 18 U.S.C. § 1959(a)(3) and 18 U.S.C. § 2 (Count 4);

  a VICAR violation in the form of the murder of Lepo Taliese in

  violation of 18 U.S.C. § 1959(a)(1) and 18 U.S.C. § 2 (Count 6);

  a VICAR violation in the form of the murder of Romelius Corpuz,

  Jr., in violation of 18 U.S.C. § 1959(a)(1) and 18 U.S.C. § 2

  (Count 7); and a VICAR violation in the form of the attempted

  murder of Tinoimalo Sao in violation of 18 U.S.C. § 1959(a)(5)

  and 18 U.S.C. § 2 (Count 8).      Id.

              On July 9, 2009, the court sentenced Joseph to life in

  prison as to Counts 6 and 7, as statutorily required; 20 years in

  prison as to Counts 1, 2, and 4; 5 years in prison as to Count 3;

  and 10 years in prison as to Count 8.          The court ran all terms

  concurrently.    See ECF No. 1157.        Joseph appealed and the Ninth

  Circuit affirmed the judgment in a Memorandum Decision filed on

  January 10, 2012.     See ECF No. 1341.      He now moves for

  compassionate release, relying mainly on the ongoing COVID-19

  pandemic.

              Joseph is currently serving his life sentence at Lompoc

  USP.   See https://www.bop.gov/inmateloc/ (input Register Number

  95580-022) (last visited November 3, 2021).          Joseph says he has

  been incarcerated for 17 years.          See ECF No. 1725, PageID

  # 19517.

              As of November 3, 2021, Lompoc USP reports having 5

  active COVID-19 cases in its inmate population and 3 active


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  COVID-19 cases in its staff, with 168 inmates and 65 staff

  members having recovered from it.        Three inmates at Lompoc USP

  have died from COVID-19.      See   https://www.bop.gov/coronavirus/

  (last visited November 3, 2021).

             There are currently 2,251 inmates in the Lompoc Federal

  Correctional Complex, with 751 in FCI Lompoc, 1,155 in Lompoc

  USP, and 345 in the camps adjacent to the USP.         See

  https://www.bop.gov/locations/institutions/lom/         (last visited

  November 3, 2021);

  https://www.bop.gov/locations/institutions/lof/ (last visited

  November 3, 2021).     As of November 3, 2021, 1643 of the inmates

  in the Lompoc Federal Correctional Complex are fully vaccinated

  (72.9 percent of inmates in the complex).        See

  https://www.bop.gov/coronavirus/ (last visited November 3, 2021).

  According to the BOP website, 1,428 of the 1,500 inmates at

  Lompoc USP have been tested for COVID-19, with 252 of them having

  tested positive.     See id. (last visited November 3, 2021).

             Joseph’s court-appointed cousel paints a different

  picture of the conditions at Lompoc USP, saying that Joseph told

  her at some unidentified time that Lompoc USP is not testing

  inmates and that “everyone I talked to was either sick or just

  getting over the sickness.      My whole cohort is sick[,] but

  [they’re] not testing, so you won’t know the numbers.”          Decl. of

  Counsel ¶ 3, ECF No. 1740-1, PageID # 19633.         However, Joseph did


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  not indicate how he knows how many people have been sick, how he

  knows whether testing is occurring, or how he can rule out other

  illnesses, such as the flu.      At the hearing on his compassionate

  release motion, Joseph testified to a different set of conditions

  in his facility.    He testified that only about 15 of the 196

  inmates in his unit were sick in August and September 2021.           He

  further stated at the hearing that he only talked with 4 of the

  15 inmates who had been sick and that he knew of only one of them

  (“Trevor”) who had asked for a COVID-19 test but had not been

  tested.

             On April 9, 2021, Joseph was offered but declined to

  receive the Moderna COVID-19 vaccination, which was under

  emergency use authorization at the time.        See ECF No 1737, PageID

  #s 19597, 19592.    Since then, the Pfizer-BioNTech vaccine has

  received full approval from the Food and Drug Administration.

  See

  https://www.fda.gov/news-events/press-announcements/fda-approves-

  first-covid-19-vaccine (indicating that the Pfizer-BioNTech

  COVID-19 Vaccine was fully approved by the FDA on August 23,

  2021) (last visited November 3, 2021).        The CDC says that the

  Moderna COVID-19 vaccine, while only under emergency use

  authorization, is safe, effective, and reduces the risk of a

  severe case of COVID-19.      See

  https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-vacc


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  ines.html (last visited November 3, 2021).        The FDA and the CDC

  have approved booster shots of the COVID-19 vaccines produced by

  Pfizer-BioNTech, Moderna, and Johnson & Johnson.

              Joseph submits no evidence indicating why he declined

  the vaccine or explaining whether he has asked to receive any

  COVID-19 vaccine since declining the Moderna vaccine in April.

              In moving for compassionate release under 18 U.S.C.

  § 3582(c)(1)(A), Joseph notes that he is 53 years old and obese,

  and has hypertension and hyperlipidemia.        While his medical

  records support his claimed medical conditions, see ECF No. 1737,

  PageID #s 19577, 19580, 19590, the Government says those

  conditions are not sufficiently severe to support compassionate

  release.    For example, Joseph’s 2009 presentence investigation

  report indicates that he was 5 feet 11 inches and weighed 240

  pounds.    At the hearing on the present motion, however, the

  Government noted that Joseph had lost weight and weighed only 210

  pounds, giving him a BMI of 29.3, which places him in the

  overweight but not obese category.       See

  https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english

  _bmi_calculator/bmi_calculator.html (last visited November 3,

  2021).    Joseph said that he had changed his diet, causing him to

  lose weight.    He also said that he has not been prescribed

  medicine to control his hypertension and hyperlipidemia.




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             Given the amount of time remaining on Joseph’s

  sentence, his history, the totality of the medical information he

  has submitted, the circumstances at his facility, the

  availability of the vaccine to him, and the absence of any

  indication of his reasons for declining the vaccine, this court

  denies Joseph’s request for compassionate release, concluding

  that extraordinary and compelling circumstances are lacking.

  II.        ANALYSIS.

             Joseph’s compassionate release request is governed by

  18 U.S.C. § 3582(c)(1)(A), which provides:

             [T]he court . . . upon motion of the
             defendant after the defendant has fully
             exhausted all administrative rights to appeal
             a failure of the Bureau of Prisons to bring a
             motion on the defendant’s behalf or the lapse
             of 30 days from the receipt of such a request
             by the warden of the defendant’s facility,
             whichever is earlier, may reduce the term of
             imprisonment (and may impose a term of
             probation or supervised release with or
             without conditions that does not exceed the
             unserved portion of the original term of
             imprisonment), after considering the factors
             set forth in section 3553(a) to the extent
             that they are applicable, if it finds that--

             (i) extraordinary and compelling reasons
             warrant such a reduction . . . .

             and that such a reduction is consistent with
             applicable policy statements issued by the
             Sentencing Commission.

  In other words, for the court to exercise its authority under

  § 3582(c)(1)(A), it must (1) find that the defendant exhausted

  his administrative remedies or that 30 days have passed since he

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  filed an administrative compassionate relief request; (2) also

  find, after considering the factors set forth in section 3553(a),

  that extraordinary and compelling reasons warrant a sentence

  reduction; and (3) find that such a reduction is consistent with

  the Sentencing Commission’s policy statements (assuming there are

  any policy statements applicable to this motion).         See United

  States v. Balgas, 2021 WL 2582573, at *1 (D. Haw. June 23, 2021)

  United States v. Scher, 2020 WL 3086234, at *2 (D. Haw. June 10,

  2020).

             A.     Joseph Has Satisfied the Exhaustion Requirement of
                    18 U.S.C. § 3582(c)(1)(A).

             Joseph submitted a compassionate release request to the

  warden of his prison on August 15, 2020.        See ECF No. 1725,

  PageID # 19529.    The Government concedes that Joseph “has

  exhausted his administrative remedies as required” by 18 U.S.C.

  § 3582(c)(1)(A).     See ECF No. 1739, PageID # 19610.       The court

  therefore rules that Joseph has satisfied the prison exhaustion

  requirement of § 3582(c)(1)(A).

             B.     This Court Has Discretion in Determining Whether
                    Extraordinary and Compelling Reasons Justify a
                    Reduced Sentence.

             This court turns to § 3582(c)(1)(A)’s second

  requirement: whether extraordinary and compelling reasons warrant

  a sentence reduction.     In orders addressing compassionate release

  motions in other cases, this judge has expressly recognized that



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  it possesses considerable discretion in determining whether a

  particular defendant has established the existence of

  extraordinary and compelling reasons that justify early release.

             This judge has also stated that, in reading

  § 3582(c)(1)(A) as providing for considerable judicial

  discretion, she is well aware of the absence of an amended policy

  statement from the Sentencing Commission reflecting the

  discretion given to courts when Congress amended the statute to

  allow inmates themselves to file compassionate release motions.

  Balgas, 2021 WL 2582573, at *2; United States v. Mau, 2020 WL

  6153581 (D. Haw. Oct. 20, 2020); United States v. Scher, 2020 WL

  3086234, at *2 (D. Haw. June 10, 2020); United States v.

  Cisneros, 2020 WL 3065103, at *2 (D. Haw. Jun. 9, 2020); United

  States v. Kamaka, 2020 WL 2820139, at *3 (D. Haw. May 29, 2020).

  Specifically, this court has recognized that an Application Note

  to a relevant sentencing guideline is outdated.         This court

  continues to view its discretion as not limited by Sentencing

  Commission pronouncements that are now at odds with the

  congressional intent behind recent statutory amendments.             Balgas,

  2021 WL 2582573, at *2;; see also United States v. Brooker, 976

  F.3d 228, 235-36 (2d Cir. 2020) (“[W]e read the Guideline as

  surviving, but now applying only to those motions that the BOP

  has made.”); cf. United States v. Ruffin, 978 F.3d 1000, 1007-08

  (6th Cir. 2020) (noting that some courts have held that the


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  Application Note is not “applicable,” but not deciding the

  issue).

             The Ninth Circuit has expressly recognized that there

  is no applicable Sentencing Commission policy statement governing

  compassionate release motions filed by defendants under

  § 3582(c)(1)(A).    Nevertheless, while the Sentencing Commission’s

  statements in U.S.S.G § 1B1.13 are not applicable policy

  statements that are binding on this court, they may inform this

  court’s discretion.     See United States v. Aruda, 993 F.3d 797,

  801-02 (9th Cir. 2021) (per curiam).

             C.     Joseph Has Not Demonstrated That Extraordinary and
                    Compelling Circumstances Justify His Early
                    Release, or That the Requested Reduction Would Be
                    Consistent with Any Applicable Sentencing
                    Commission Policy Statement.

             Joseph contends that this court should exercise its

  discretion and find that extraordinary and compelling

  circumstances justify his early release.        He relies primarily on

  the risks he faces if he contracts COVID-19.         While the court

  acknowledges the seriousness of Joseph’s concern, the COVID-19

  pandemic does not justify early release under the circumstances

  presented here.

             Joseph’s medical conditions (age, being overweight with

  a BMI between 25 and 30, hypertension, and hyperlipidemia) could

  potentially make him “more likely to get severely ill from COVID-

  19,” meaning that he may be more likely to need hospitalization,


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  intensive care, or a ventilator to help him breathe, or might

  even die from COVID-19.      See

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

  people-with-medical-conditions.html (last visited November 3,

  2021).   But Joseph’s medical conditions, standing alone, are not

  exceptional and compelling reasons warranting a reduction in

  sentence at this time.

              Several factors potentially reduce the risks that

  Joseph faces.    At 53 years old, Joseph is not in the most at-risk

  age category.    See

  https://www.cdc.gov/aging/covid19/covid19-older-adults.html

  (“Older adults are more likely to get very sick from COVID-19.

  Getting very sick means that older adults with COVID-19 might

  need hospitalization, intensive care, or a ventilator to help

  them breathe, or they might even die.        The risk increases for

  people in their 50s and increases in 60s, 70s, and 80s.           People

  85 and older are the most likely to get very sick.”) (last

  visited November 3, 2021).

              Joseph has not demonstrated that he is at significant

  risk of a severe case of COVID-19.        The evidence does not

  demonstrate that COVID-19 is running rampant at Lompoc USP, which

  has only 5 active cases in its inmate population and 3 active

  cases among staff members (who are presumably staying home if

  actively infected).     Even Joseph’s description of prison


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  conditions at the hearing indicated that only a handful of

  inmates in his unit were sick in September and October 2021 and

  that he knows of only a single inmate who asked for but did not

  receive a COVID-19 test.

              The large number of inmates and staff at the Lompoc

  complex who have recovered from COVID-19 demonstrates that Lompoc

  earlier had a significant COVID-19 problem, a problem that has

  apparently been reduced but certainly not eliminated.          While the

  relatively low number of current COVID-19 cases may alleviate

  Joseph’s risk of exposure to COVID-19, especially when 72.9% of

  the inmate population at the complex has been fully vaccinated

  against COVID-19, it is that very risk that Joseph cites in

  seeking compassionate release.       However, Joseph has failed to

  take available measures to further reduce the risk of COVID-19.

              For example, in April 2021, Joseph refused the COVID-19

  vaccine offered to him.      Joseph has not explained why he declined

  the vaccine or why he has not requested a COVID-19 vaccination

  since then.    The Sixth and Seventh Circuit have held that

  prisoners who refuse the vaccine cannot be said to have

  “extraordinary and compelling” circumstances justifying

  compassionate release.      See United States v. Lemons, 2021 WL

  4699249, at *3 (6th Cir. Oct. 8, 2021) (“a defendant’s

  incarceration during the COVID-19 pandemic–when the defendant has

  access to the COVID-19 vaccine–does not present an ‘extraordinary


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  and compelling reason’ warranting a sentence reduction”); United

  States v. Broadfield, 5 F.4th 801, 803 (7th Cir. 2021) (“a

  prisoner who remains at elevated risk because he has declined to

  be vaccinated cannot plausibly characterize that risk as an

  ‘extraordinary and compelling’ justification for release”).

              District courts in the Ninth Circuit have similarly

  ruled that an inmate’s refusal to receive a COVID-19 vaccination

  undercuts that inmate’s assertion of extraordinary and compelling

  circumstances justifying compassionate release.          See United

  States v. Rollness, 2021 WL 4476920, at *5 (W.D. Wash. Sept. 30,

  2021) (stating that a defendant’s refusal to receive a COVID-19

  vaccine cuts against compassionate release on the basis of

  vulnerability to COVID-19 when the defendant fails to demonstrate

  a vaccine-related allergy to the vaccine); United States v.

  Lundy, 2021 WL 3174898, at *5 (W.D. Wash. July 27, 2021)

  (“Defendant’s failure to offer any explanation for his decision

  to decline the vaccine weighs against compassionate release on

  the basis of vulnerability to COVID-19.”); United States v.

  Oliver, 2021 WL 2645916, at *4 (S.D. Cal. June 28, 2021)

  (“Oliver’s refusal to be vaccinated weighs heavily against his

  claim that there is an extraordinary and compelling reason to

  justify release.”); United States v. Newman, 2021 WL 2593763, at

  *4 (D. Or. June 24, 2021) (“Judges in this District as well as

  other district courts in the Ninth Circuit . . . have declined to


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  grant requests for compassionate release to individuals who have

  refused COVID-19 vaccines.”); United States v. Baeza-Vargas, 2021

  WL 1250349, at *3 (D. Ariz. Apr. 5, 2021)(“Judges of this Court,

  as well as others around the country, have ruled with consistency

  that an inmate’s denial of a COVID-19 vaccination weighs against

  a finding of extraordinary and compelling circumstances.”); see

  also United States v. Hill, 2021 WL 4443316, at *4 (D. Idaho

  Sept. 28, 2021) (same); United States v. Miller, 2021 WL 3669314,

  at *2 (D. Idaho Aug. 18, 2021) (same); United States v.

  Richmond,2021 WL 2337626, at *6 (E.D. Cal. June 8, 2021) (same).

  The court finds these cases persuasive and rules that Joseph’s

  failure to explain why he refused the COVID-19 vaccine offered to

  him by the BOP cuts against his claim that he should be released

  because of the possibility that he might get a severe case of

  COVID-19.

              This court stresses that Joseph is correct in arguing

  that he has no obligation to explain his decision to decline the

  vaccination.    Joseph is certainly within his rights in remaining

  silent on that point.      But on the present motion the burden is on

  Joseph to justify compassionate release, and his lack of

  explanation for declining the vaccine weighs against a decision

  granting his motion.

              In evaluating whether early release is justified, this

  court also must consider the factors set forth in § 3553(a), one


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  of which is particularly relevant.        Joseph is serving a

  statutorily mandated life sentence for crimes of violence.

              Of course, there are factors weighing in favor of

  Joseph’s release.     For example, Joseph has completed almost two

  dozen self-help courses while incarcerated.         See ECF No. 1725-1,

  PageID # 19530.     Additionally, Joseph does not appear to have had

  any recent disciplinary issues, indicating that Joseph is

  possibly less of a danger to the community if released at this

  point.   See id.    Joseph plans to live with his wife and work in

  construction in Hawaii.      See ECF No. 1725, PageID

  #s 19522, 19529; ECF No. 1736, PageID # 19555; ECF No. 1736-1,

  PageID # 19568.     While Joseph’s recent conduct and plan are

  commendable, these circumstances are not extraordinary or

  compelling such that compassionate release is appropriate at this

  time.    Under § 3582(c)(1)(A), it is only extraordinary and

  compelling reasons that justify a reduction in an inmate’s

  sentence.

              Having considered the amount of time remaining on

  Joseph’s sentence, his history, the totality of the medical

  information he has submitted, the circumstances at his facility,

  and the availability of the vaccine, this court determines that

  the reasons raised by Joseph do not rise to the level of being

  extraordinary and compelling reasons warranting a reduction in

  his sentence at this time.


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  III.        CONCLUSION.

              Joseph’s request for compassionate release under 18

  U.S.C. § 3582(c)(1)(A) is denied.

              It is so ordered.

              DATED: Honolulu, Hawaii, November 3, 2021.



                                      /s/ Susan Oki Mollway
                                      Susan Oki Mollway
                                      United States District Judge




  United States v. Jospeh, Cr. No. 06-0080(02) SOM; ORDER DENYING DEFENDANT’S
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